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EXHIBIT A
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UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

if You Bought A Cathode Ray Tube Product,

A Class Action Settlement May Affect You.

Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
contain a Cathode Ray Tube such as Televisions and Computer Monitors.

A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

pending.

A class action lawsuit that includes direct purchasers of CRT Products is currently

e Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an
unlawful conspiracy to fix, raise, maintain or stabilize the prices of Cathode Ray Tubes.
Plaintiffs further claim that direct purchasers of televisions and monitors that contain a
cathode ray tube from the Defendants may recover for the effect that the cathode ray tube
conspiracy had on the prices of televisions and monitors. Plaintiffs allege that, as a result
of the unlawful conspiracy involving cathode ray tubes, they and other direct purchasers
paid more for CRT Products than they would have paid absent the conspiracy.

Defendants deny Plaintiffs’ claims.

e A Settlement has been reached with Toshiba Corporation, Toshiba America Information
Systems, Inc., Toshiba America Consumer Products, L.L.C., and Toshiba America
Electronic Components, Inc. The companies are together referred to as the “Settling

Defendants.”

e Your legal rights will be affected whether you act or don’t act. This Notice includes
information on the Settlement and the continuing lawsuit. Please read the entire Notice

carefully.
These Rights and Options — and deadlines to exercise them —

are explained in this notice.

You can object or comment on the Settlement see Question 10
You may exclude yourself from the Settlement see Question 10
You may go to a hearing and comment on the Settlement see Question 14

e The Court in charge of this case still has to decide whether to approve the Settlement.
The case against the Non-Settling Defendants (identified below) continues.

For More Information: Call 1-877-224-3063 or Visit
www.CRTDirectPurchaserAntitrustSettlement.com
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BASIC INFORMATION
1. Why did I get this notice?

You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain
products containing those tubes between March 1, 1995 and November 25, 2007. A direct
purchaser is a person or business who bought a CRT, or a television or computer monitor
containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or
subsidiaries themselves, as opposed to an intermediary (such as a retail store).

You have the right to know about the litigation and about your legal rights and options before the
Court decides whether to approve the Settlement.

The notice explains the litigation, the settlement, and your legal rights.

The Court in charge of the case is the United States District Court for the Northern District of
California, and the case is called Jn re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No.
1917. The people who sued are called Plaintiffs and the companies they sued are called
Defendants.

2. Who are the Defendant companies?

The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG
Electronics Taiwan Taipei Co., Ltd., Koninklijke Philips Electronics N.V., Philips Electronics
North America Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da Amazonia
Industria Electronica Ltda., LP Displays International, Ltd. f/k/a LG.Philips Displays, Samsung
Electronics Co., Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI
America, Inc., Samsung SDI Mexico S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen
Samsung SDI Co. Ltd., Tianjin Samsung SDJ Co. Ltd., Samsung SDJ Malaysia Sdn. Bhd.,
Toshiba Corporation, Toshiba America Consumer Products, L.L.C., Toshiba America
Information Systems, Inc., Toshiba America Electronic Components, Inc., Panasonic
Corporation f/k/a Matsushita Electric Industrial, Ltd., Panasonic Corporation of North America,
MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi,
Ltd., Hitachi Displays, Ltd., Hitachi Electronic Devices (USA), Inc., Hitachi America, Ltd.,
Hitachi Asia, Ltd., Tatung Company of America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO Display Devices Co.,
Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics
Corporation f/k/a Daewoo Electronics Company, Ltd., Daewoo International Corporation, Irico
Group Corporation, Irico Group Electronics Co., Ltd., and Irico Display Devices Co., Ltd.

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3. What is this lawsuit about?

The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of
CRTs and the CRTs contained in certain finished products for over ten years, resulting in
overcharges to direct purchasers of those CRTs and certain finished products containing CRTs.
The complaint describes how the Defendants and co-conspirators allegedly violated the U.S.
antitrust laws by establishing a global cartel that set artificially high prices for, and restricted the
supply of CRTs and the televisions and monitors that contained them. Defendants deny
Plaintiffs’ allegations. The Court has not decided who is right.

4, Why is there a Settlement but the litigation is continuing?

Only some of the Defendants have agreed to settle the lawsuit. This notice concerns a settlement
with Toshiba Corporation, Toshiba America Information Systems, Inc., Toshiba America
Consumer Products, L.L.C., and Toshiba America Electronic Components, Inc. Plaintiffs have
also reached four previous settlements with 1) Chunghwa Picture Tubes Ltd., and Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd., 2) Koninklijke Philips Electronics N.V., Philips Electronics
North America Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips da
Amazonia Industria Electronica Ltda., 3) Panasonic Corporation (f/k/a Matsushita Electric
Industrial, Ltd.), Panasonic Corporation of North America, and MT Picture Display Co., Ltd.
(this settlement also releases Beijing-Matsushita Color CRT Company, Ltd.), and 4) LG
Electronics, Inc., LG Electronics U.S.A., Inc., and LG Electronics Taiwan Taipei Co., Ltd. (this
settlement also releases LP Displays International, Ltd. f/k/a LG.Philips Displays.) The first
three settlements have been finally approved by the Court. The fourth with LG is currently
awaiting final approval from the Court. The case is continuing against the remaining Non-
Settling Defendants. Additional money may become available in the future as a result of a trial
or future settlements, but there is no guarantee that this will happen.

5. What is a Cathode Ray Tube Product?

For the purposes of the Settlement, Cathode Ray Tube Products means Cathode Ray Tubes of
‘any type (e.g. color display tubes, color picture tubes and monochrome display tubes) and
finished products which contain Cathode Ray Tubes, such as Televisions and Computer
Monitors.

6. What is a class action?

In a class action, one or more people, called class representatives, sue on behalf of people who
have similar claims. All these people are members of the class, except for those who exclude
themselves from the class.

If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be
notified about those settlements, if any, at that time. Important information about the case will be
posted on the website, www.CRTDirectPurchaserAntitrustSettlement.com as it becomes
available. Please check the website to be kept informed about any future developments.

For More Information: Call 1-877-224-3063 or Visit

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THE SETTLEMENT CLASS

7. How do I know if I’m part of the Settlement Class?

The Settlement Class includes:

All persons and entities who, between March 1, 1995 and November 25, 2007, directly
purchased a CRT Product in the United States from any defendant or subsidiary or affiliate
thereof, or any co-conspirator. (“Settlement Class”).

8. What does the Settlement provide?

This Settlement provides for a payment in the amount of $13,500,000 in cash to the Settlement
Class. The Settling Defendants also agreed to cooperate with the Plaintiffs in providing certain
information about the allegations in the complaint. In addition, the Settling Defendants’ sales
remain in the case for the purpose of computing damages against the remaining non-settling
Defendants.

More details are in the Settlement Agreement, available at
www.CRTDirectPurchaserAntitrustSettlement.com,

9. When can I get a payment?

No money will be distributed to any Class Member yet. The lawyers will pursue the lawsuit
against the Non-Settling Defendants to see if any future settlements or judgments can be
obtained in the case and then be distributed together, to reduce expenses.

Any future distribution of the Settlement Funds will be done on a pro rata basis. You will be
notified in the future when and where to send a claim form. DO NOT SEND ANY CLAIMS
NOW.

In the future, each class member’s pro rata share of the Settlement Fund will be determined by
computing each valid claimant’s total CRT Product purchases divided by the total valid CRT
Product purchases claimed. This percentage is multiplied to the Net Settlement Fund (total
settlements minus all costs, attorneys’ fees, and expenses) to determine each claimant’s pro rata
share of the Settlement Fund. To determine your CRT Product purchases, CRT tubes (CPTs and
CDTs) are calculated at full value while CRT televisions are valued at 50% and CRT computer
monitors are valued at 75%.

In summary, all valid claimants will share in the settlement funds on a pro rata basis determined
by the CRT value of the product you purchased - tubes 100%, monitors 75% and televisions
50%.

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10. What are my rights with regard to the Settlement Class?

Remain in the Settlement Class: If you wish to remain a member of the Settlement Class you
do not need to take any action at this time.

Get out of the Settlement _Class: If you wish to keep any of your rights to sue the Settling

Defendants about the claims in this case, you must exclude yourself from the Settlement Class.
You will not get any money from the settlement if you exclude yourself from the Settlement
Class.

To exclude yourself from the Settlement Class, you must send a letter that includes the
following:
* Your name, address and telephone number,
° A statement saying that you want to be excluded from Zn re Cathode Ray Tube (CRT)
Antitrust Litigation, MDL No. 1917, Toshiba Settlement; and
® Your signature.

You must mail your exclusion request, postmarked no later than , 2013, to:
CRT Direct Settlement
P.O. Box 808003
Petaluma, CA 94975

Remain in the Settlement Class and Object: If you have comments about, or disagree with,
any aspect of the Settlement, you may express your views to the Court by writing to the address

below. The written response needs to include your name, address, telephone number, the case
name and number (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief
explanation of your reasons for objection, and your signature. The response must be postmarked
no later than , 2013 and mailed to:

COURT INTERIM LEAD COUNSEL FOR
COUNSEL SETTLING
DEFENDANTS

Honorable Charles A. Guido Saveri Christopher M. Curran
rege (Ret.) R. Alexander Saveri WHITE & CASE LLP
Two Embarcadero, Suite SAVERI & SAVERI, INC. 701 13th Street, N.W.
1500 706 Sansome Street Washington, DC 20005
San Francisco, CA 94111 San Francisco, CA 94111

For More Information: Call 1-877-224-3063 or Visit
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11. What am I giving up to stay in the Settlement Class?

Unless you exclude yourself from the Settlement Class, you can’t sue the Settling Defendants (or
any of the related entities that are released in the Settlement Agreement), or be part of any other
lawsuit against these Settling Defendants about the legal issues in this case. It also means that all
of the decisions by the Court will bind you. The “Release of Claims” includes any causes of
actions asserted or that could have been asserted in the lawsuit, as described more fully in the
Settlement Agreement, The Settlement Agreement is available at
www.CRTDirectPurchaserAntitrustSettlement.com.

THE SETTLEMENT APPROVAL HEARING

12. When and where will the Court decide whether to approve the Settlement?

The Court will hold a Fairness Hearing at on 2013, at JAMS, Two
Embarcadero, Suite 1500, San Francisco, CA 94111. The hearing may be moved to a different
date or time without additional notice, so it is a good idea to check the class website for
information. At this hearing, the Court will consider whether the Settlement is fair, reasonable
and adequate. If there are objections or comments, the Court will consider them at that time.
After the hearing, the Court will decide whether to approve the Settlement. We do not know how
long these decisions will] take.

13. Do I have to come to the hearing?

No. Interim Lead Counsel will answer any questions the Court may have, but you are welcome
to come at your own expense. If you send an objection or comment, you don’t have to come to
Court to talk about it. As long as you mailed your written objection on time, the Court will
consider it. You may also pay another lawyer to attend, but it’s not required.

14. May I speak at the hearing?

If you want your own lawyer instead of Interim Lead Counsel to speak at the Final Approval
Hearing, you must give the Court a paper that is called a “Notice of Appearance.” The Notice of
Appearance should include the name and number of the lawsuit (In re Cathode Ray Tube (CRT)
Antitrust Litigation, MDL No. 1917), and state that you wish to enter an appearance at the
Fairness Hearing. It also must include your name, address, telephone number, and signature.
Your “Notice of Appearance” must be postmarked no later than , 2013. You cannot
speak at Hearing if you previously asked to be excluded from the Settlement.

The Notice of Appearance must be sent to the addresses listed in Question 10.

For More Information: Call 1-877-224-3063 or Visit
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THE LAWYERS REPRESENTING YOU
15. DoJ have a lawyer in the case?

Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as “Interim
Lead Counsel.” You do not have to pay Interim Lead Counsel. If you want to be represented by
your own lawyers, and have that lawyer appear in court for you in this case, you may hire one at
your own expense.

16. How will the lawyers be paid?

Class Counsel are not asking for attorneys’ fees at this time. At a future time, Interim Lead
Counsel will ask the Court for attorneys’ fees not to exceed one-third (33.3%) of this or any
future Settlement Fund plus reimbursement of their costs and expenses, in accordance with the
provisions of the Settlement Agreement. Interim Lead Counsel may also request that an amount
be paid to each of the Class Representatives who helped the lawyers on behalf of the whole
Class.

GETTING MORE INFORMATION
17. How do I get more information?

This Notice summarizes the lawsuit and the Settlement. You can get more information about the
lawsuit and Settlement at www.CRTDirectPurchaserAntitrustSettlement.com., by
calling 1-877-224-3063, or writing to CRT Direct Settlement, P.O. Box 808003, Petaluma, CA
94975. Please do not contact JAMS or the Court about this case.

Dated: , 2013 BY ORDER OF THE COURT

For More Information: Call 1-877-224-3063 or Visit
www.CRTDirectPurchaserAntitrustSettlement.com
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